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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

J.G.G., et al.,
Plaintiffs, DECLARATION

V. Civil Action No. 25-766 (JEB)
DONALD J. TRUMP, et al.,

Defendants.

L I am the Deputy Attorney General of the United States. I am submitting this
Declaration in response to the Court’s March 20, 2025 Order.

2. On March 20, 2025, the Government submitted a declaration from Robert L. Cerna
II, which stated: “I understand that Cabinet Secretaries are currently actively considering whether
to invoke the state secrets privilege over the other facts requested by the Court’s order. Doing so
is a serious matter that requires careful consideration of national security and foreign relations, and
it cannot properly be undertaken in just 24 hours.”

3. I attest to the accuracy of those statements based on personal knowledge of the
events described by Mr. Cerna, including my direct involvement in ongoing Cabinet-level
discussions regarding invocation of the state-secrets privilege.

4, Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct.

Dated: March 21, 2025

Todd Blanche

Deputy Attorney General
United States Department of Justice

